33333 333-3V-13§313rsss13snsanabrianeiaswasi@f3 33333 33

WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION Ftil£D BY.__ ______ D.G

'I`IG INSURANCE COMPANY, ) 05 `_]U§.] -»5 AH 8: [)[]
)

` ` - _ .31: zaer “--z_ ne -;‘J~
Plalntlff, ) Case No. 2.04cv2666 B/XLEU§K'LJS_ Di$:.‘\~." “CT'

v- ) \3.1_ o o¢= TN, mem-ams
)
MERRYLAND CHILD CARE AND )
DEVELOPMENT CENTER,. a/k/a )

MERRYLAND KINDERGARTEN, INC. )
a/k)'a MERRYLAND KINDERGARTEN )
AND DAY CARE CENTER, INC.; et al., )

)
Defendants. )

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on June 6, 2005, entry of DEFAULT
IS HEREBY GRANTED against the defendant, Michael L. Taylor pursuant to FRCP 55(a).

On September 15, 2004, this Court filed the summons returned executed to Michael L. Taylor
as executed on December l l, 2004. Defendant had twenty days within which to answer or otherwise
plead. Defendant Michael L. Taylor has failed to plead or otherwise defend as provided by the
Federal Rules of Civil Procedure.

ln compliance with Rule 55(a), FRCP., plaintiffs motion for entry of default against the
above-named defendant is GRANTED. ln accordance to Rule 55(<:) for good cause shown, the court
may set aside an entry of defaultl

Entered this 6"‘ day of lune, 2005.

ROBERT R. DI TROLIO

By: l /”/ dA//é/¢h

y ye;§-u’ty Clerk §

 

UNIED TATES DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CV-02666 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listedl

 

 

Jerry Stokes

LAW OFFICE OF JERRY STOKES
100 N. Main St.

Ste. 2601

1\/lemphis7 TN 38103

Gregory W. O'Nea1
BRATTON & O'NEAL
675 Oak1eaf0ff1ce Ln.
Ste. 200

1\/lemphis7 TN 38117

Craig V. Morton
MORTON & GERMANY
200 Jefferson Ave.

Ste. 725

1\/lemphis7 TN 38103

David A. McLaughIin

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Commerce Square

Ste. 2600

1\/lemphis7 TN 38103

J ames F. Horner

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Va1erie T. Corder

LAW OFFICE OF VALERIE T. CORDER
200 Jefferson

Ste. 725

1\/lemphis7 TN 38103

Beth Brooks

BROOKS LAW FIRM

1 19 Racine

1\/lemphis7 TN 38111--089

Case 2:04-cv-02666-.]DB-dkv Document 37 Filed 06/06/05 Page 3 of 3 Page|D 35

ReX L. Brasher

BROWN BRASHER & Sl\/HTH
5100 Poplar Avenue

Ste. 25 1 5

1\/lemphis7 TN 38137

Walter L. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

